               Case 2:23-bk-14467-WB                  Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                               Desc
                                                      Main Document    Page 1 of 19

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                   06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                R&LS Investments, Inc.

2.   All other names debtor       DBA     270 Commercial
     used in the last 8 years     DBA     Aria Properties
     Include any assumed
                                  DBA     DA Nationwide
     names, trade names and       DBA     DA Nationwide Group
     doing business as names      DBA     Escrow Advisors, a non-independent broker escrow
                                  DBA     Keller Williams
                                  DBA     Keller Williams Luxury
                                  DBA     Keller Williams Luxury International
                                  DBA     Keller Williams Pacific Palisades
                                  DBA     Keller Williams Palisades
                                  DBA     Keller Williams Realty Pacific Palisades
                                  DBA     Keller Williams Realty Santa Monica
                                  DBA     Keller Williams Santa Monica
                                  DBA     Keller Williams Santa Monica | Palisades
                                  DBA     Keller Williams Topanga
                                  DBA     KW
                                  DBA     KW Advisors
                                  DBA     KW Advisors - Brentwood
                                  DBA     KW Advisors - Inglewood
                                  DBA     KW Advisors - Marina Del Rey
                                  DBA     KW Advisors - Pacific Palisades
                                  DBA     KW Advisors - Santa Monica
                                  DBA     KW Commercial
                                  DBA     KW Commercial Santa Monica
                                  DBA     KW Keller Williams
                                  DBA     KW Luxury
                                  DBA     KW Luxury Homes
                                  DBA     KW Luxury International
                                  DBA     KW Malibu
                                  DBA     KW Pacific Palisades
                                  DBA     KW Palisades
                                  DBA     KW Palisades|Malibu
                                  DBA     KW Santa Monica
                                  DBA     KWSanta Monica | Palisades
                                  DBA     KW Santa Monica, Palisades & Malibu
                                  DBA     KW Santa Monica-Referral
                                  DBA     KWSM
                                  DBA     KWSM-Referral
                                  DBA     KW Topanga
                                  DBA     MVP Commercial
                                  DBA     Resolution Escrow, a non-independent broker escrow
                                  DBA     Smart Property Group

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
                Case 2:23-bk-14467-WB               Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                     Desc
                                                    Main Document    Page 2 of 19
Debtor   R&LS Investments, Inc.                                                             Case number (if known)
         Name




4.   Debtor's address         Principal place of business                                     Mailing address, if different from principal place of
                                                                                              business

                              2701 Ocean Park Blvd., Suite 140                                11812 San Vicente Blvd #100
                              Santa Monica, CA 90405                                          Los Angeles, CA 90049
                              Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                              Los Angeles                                                     Location of principal assets, if different from principal
                              County                                                          place of business
                                                                                              845 Vía De La Paz Pacific Palisades, CA 90272
                                                                                              Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                 Partnership (excluding LLP)
                                 Other. Specify:




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 2:23-bk-14467-WB                      Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                    Desc
                                                            Main Document    Page 3 of 19
Debtor    R&LS Investments, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7

     A debtor who is a “small             Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                          Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 3
                 Case 2:23-bk-14467-WB                          Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                      Desc
                                                                Main Document    Page 4 of 19
Debtor    R&LS Investments, Inc.                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
                Case 2:23-bk-14467-WB          Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                Desc
                                               Main Document    Page 5 of 19
Debtor   R&LS Investments, Inc.                                                     Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 5
                 Case 2:23-bk-14467-WB                  Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                       Desc
                                                        Main Document    Page 6 of 19
Debtor    R&LS Investments, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on              7/13/2023
                                                  MM / DD / YYYY


                             X                                                                            Richard Cunningham
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Operating Principal




                             X      /s/ John-Patrick M. Fritz                                                         7/13/2023
18. Signature of attorney                                                                                  Date
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 John-Patrick M. Fritz
                                 Printed name

                                 Levene, Neale, Bender, Yoo & Golubchik L.L.P
                                 Firm name

                                 2818 La Cienega Avenue
                                 Los Angeles, CA 90034
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (310) 229-1234               Email address


                                 245240 CA
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 6
           Case 2:23-bk-14467-WB                     Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                    Desc
                                                     Main Document    Page 7 of 19




Fill in this information to identify the case:

Debtor name         R&LS Investments, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       7/13/2023                       X
                                                             Signature of individual signing on behalf of debtor

                                                             Richard Cunningham
                                                             Printed name

                                                             Operating Principal
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                        Main Document    Page 8 of 19
Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                        Main Document    Page 9 of 19




            13                       ___________________________________
                    Case 2:23-bk-14467-WB             Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                                   Desc
                                                      Main Document   Page 10 of 19

Fill in this information to identify the case:
Debtor name R&LS Investments, Inc.
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                             Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
ABM Parking                                                                                                                                                       $1,750.00
1150 S. Olive St.
Suite 1900
Los Angeles, CA
90015
Blue Shield of                                                                                                                                                    $7,345.39
California
PO Box 749415
Los Angeles, CA
90074
Citi Credit Card                                                                                                                                                $30,000.00
PO Box 9001037
Louisville, KY 40290
City National Bank                                                                                                                                            $144,833.00
8641 Wilshire Blvd
Suite 101
Beverly Hills, CA
90211
Co-Star Realty                                                                                                                                                  $30,200.00
Information
PO Box 791123
Baltimore, MD 21279
Cogent                                                                                                                                                              $888.00
PO Box 791087
Baltimore, MD 21279
De Lage Financial                                                                                                                                                   $348.70
PO Box 41602
Philadelphia, PA
19101
Frontier                                                                                                                                                            $472.11
Communications
PO Box 740407
Cincinnati, OH
45274




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 2:23-bk-14467-WB             Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                                   Desc
                                                      Main Document   Page 11 of 19


Debtor     R&LS Investments, Inc.                                                                   Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Happy Cleaning                                                                                                                                                    $3,145.00
Services
845 Via De La Paz
Suite 3
Pacific Palisades,
CA 90272
IPFS Financing                                                                                                                                                  $12,516.98
PO Box 100391
Pasadena, CA 91189
Konica Minolta                                                                                                                                                    $1,908.15
PO Box 31001-0271
Pasadena, CA 91110
Ocean Park Two,                                                               Contingent                                                                      $430,850.96
LLC                                                                           Unliquidated
660 S. Figueroa St.                                                           Disputed
7th Floor
Los Angeles, CA
90017
Parking Network                                                                                                                                                   $3,075.00
1625 W. Olympic
Blvd
Suite 1010
Los Angeles, CA
90015
Reonomy                                                                                                                                                           $3,637.00
11 E. 32nd St.
New York, NY 10016
Reppert Factor                                                                                                                                                    $3,454.00
PO Box 1223
Bensalem, PA 19020
Scott Le Roy                                                                                                                                                        $425.00
2408 Illinois St.
Orlando, FL 32803
Travelers                                                                                                                                                         $5,327.07
PO Box 660317
Dallas, TX 75266
Wells Fargo                                                                                                                                                         $948.28
Financing
PO Box 51043
Los Angeles, CA
90051
West Guard                                                                                                                                                        $1,127.81
Insurance
PO Box AH
Wilkes-Barre, PA
18703
West Guard                                                                                                                                                          $125.63
Insurance
PO Box AH
Wilkes-Barre, PA
18703


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
           Case 2:23-bk-14467-WB                     Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                                    Desc
                                                     Main Document   Page 12 of 19


                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at        Santa Monica                                    , California.
                                                                                                     Richard Cunningham
Date:              7/13/2023                                                                         Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
          Case 2:23-bk-14467-WB                     Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39                                                    Desc
                                                    Main Document   Page 13 of 19
Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
John-Patrick M. Fritz
2818 La Cienega Avenue
Los Angeles, CA 90034
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 245240 CA




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                  CASE NO.:
            R&LS Investments, Inc.
                                                                                  CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 6 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date:           7/13/2023
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date:
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
    Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                            Main Document   Page 14 of 19


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                       R&LS Investments, Inc.
                       11812 San Vicente Blvd #100
                       Los Angeles, CA 90049


                       John-Patrick M. Fritz
                       Levene, Neale, Bender, Yoo & Golubchik L.L.P
                       2818 La Cienega Avenue
                       Los Angeles, CA 90034


                       843 Via de la Paz, LLC
                       845 Via de la Paz, #1
                       Pacific Palisades, CA 90272


                       ABM Parking
                       1150 S. Olive St.
                       Suite 1900
                       Los Angeles, CA 90015


                       Adam Silver
                       801 S. Figueroa St.
                       15th Floor
                       Los Angeles, CA 90017


                       Blue Shield of California
                       PO Box 749415
                       Los Angeles, CA 90074


                       Brian Tanenbaum
                       20920 Warner Center Lane
                       Suite B
                       Woodland Hills, CA 91367


                       Citi Credit Card
                       PO Box 9001037
                       Louisville, KY 40290
Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                        Main Document   Page 15 of 19



                   City National Bank
                   8641 Wilshire Blvd
                   Suite 101
                   Beverly Hills, CA 90211


                   Claire Campolo
                   801 S. Figueroa St.
                   15th Floor
                   Los Angeles, CA 90017


                   Co-Star Realty Information
                   PO Box 791123
                   Baltimore, MD 21279


                   Cogent
                   PO Box 791087
                   Baltimore, MD 21279


                   De Coral Plaza, LLC
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                   Suite 225
                   Los Angeles, CA 90049


                   De Lage Financial
                   PO Box 41602
                   Philadelphia, PA 19101


                   Elizabeth Rosen
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                   15th Floor
                   Los Angeles, CA 90017


                   EXL (Partner of USAA - Steven Comunale)
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                   15th Floor
                   Los Angeles, CA 90017
Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                        Main Document   Page 16 of 19



                   Franchise Tax Board
                   Attention: Bankruptcy
                   P.O. Box 2952
                   Sacramento, CA 95812-2952


                   Frontier Communications
                   PO Box 740407
                   Cincinnati, OH 45274


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                   15th Floor
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                   Gessica Smith
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                   15th Floor
                   Los Angeles, CA 90017


                   Gold Coast West, LLC
                   13737 Fiji Way
                   C-10
                   Marina Del Rey, CA 90292


                   Happy Cleaning Services
                   845 Via De La Paz
                   Suite 3
                   Pacific Palisades, CA 90272


                   Hill, Farrer & Burrill, LLP
                   Attn: William W. Steckbauer, Esq.
                   300 S. Grand Ave., 37th Floor
                   Los Angeles, CA 90071


                   Internal Revenue Service
                   Special Procedures Branch
                   300 North Los Angeles Street
                   Room 4062
                   Los Angeles, CA 90012-9903
Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                        Main Document   Page 17 of 19



                   IPFS Financing
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                   15th Floor
                   Los Angeles, CA 90017


                   Mark Barron
                   801 S. Figueroa St.
                   15th Floor
                   Los Angeles, CA 90017


                   Ocean Park Two, LLC
                   660 S. Figueroa St.
                   7th Floor
                   Los Angeles, CA 90017


                   Ocean Park Two, LLC
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                   Suite 1900
                   Los Angeles, CA 90017
Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                        Main Document   Page 18 of 19



                   Parking Network
                   1625 W. Olympic Blvd
                   Suite 1010
                   Los Angeles, CA 90015


                   Playground Management Group, LLC
                   845 Via De La Paz
                   Suite 1
                   Pacific Palisades, CA 90272


                   Reonomy
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                   New York, NY 10016


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Case 2:23-bk-14467-WB   Doc 1 Filed 07/18/23 Entered 07/18/23 11:16:39   Desc
                        Main Document   Page 19 of 19



                   Small Business Administration
                   Office of Disaster Assistance
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                   Small Business Administration
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                   El Paso, TX 79935


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                   PO Box 51043
                   Los Angeles, CA 90051


                   West Guard Insurance
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